
23 N.Y.2d 978 (1969)
In the Matter of Henry J. Kalichstein et al., Appellants,
v.
Thomas F. McCoy, as State Administrator of the Judicial Conference of the State of New York, Respondent.
Court of Appeals of the State of New York.
Argued January 6, 1969.
Decided February 20, 1969.
Richard S. Perles and Harry H. Lipsig for appellants.
Lawrence N. Marcus for respondent.
Seth Towse for Civil Service Employees Association, Inc., amicus curiae.
Francis L. Giordano for American Legion, Department of New York, amicus curiae.
Concur: Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN. Taking no part: Chief Judge FULD.
Order affirmed, without costs, in the following memorandum: We agree with the Trial Judge that the appellants have shown no clear right to mandamus the Administrative Board of the Judicial Conference to give them the higher classification regardless of the work to which they had been and were assigned by the court. This decision in no way affects the appellants' right to seek review before the Special Classification Appeals Board to determine if the reclassifications in fact conformed to the pre-existing realities.
